Information to identify the case:
Debtor 1              Patrick Wayne Grier                                                       Social Security number or ITIN      xxx−xx−3211
                      First Name   Middle Name     Last Name                                    EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Kansas                                    Date case filed for chapter 7 10/31/18

Case Number / Presiding Judge:             18−12140 / Dale L. Somers                            Date Notice Issued: 11/1/18
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                   04/16

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The trustee named below is the interim trustee appointed by the U.S. Trustee to serve under general blanket bond on file with
the clerk of the bankruptcy court.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
1. Meeting of creditors                               November 26, 2018 at 10:30 AM                                     Location:
     Debtors must attend the meeting to be
     questioned under oath. In a joint case, both     The meeting may be continued or adjourned to a later date. If     US Courthouse, 401
     spouses must attend. Creditors may attend,       so, the date will be on the court docket.                         North Market Room
     but are not required to do so.                                                                                     B−56, Wichita, KS 67202
                                                      All individual debtors are required to produce photo ID and
                                                      proof of Social Security Number to the Trustee at this meeting.
                                                      Non−lawyers SHOULD NOT bring cellular telephones or other
                                                      electronic communication devices to the courthouse.


                                                 About Debtor 1:                                             About Debtor 2:

2.      Debtor's full name                       Patrick Wayne Grier

3.      All other names used in the
        last 8 years

4.     Address                               8339 E Gilbert
                                             Wichita, KS 67207
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




                                   Case 18-12140               Doc# 6         Filed 11/01/18            Page 1 of 2
Debtor Patrick Wayne Grier                                                                                                        Case number 18−12140

5. Debtor's Attorney                              Patrick Wayne Grier                                           Contact phone 316−409−4695
   Name and address                               8339 E Gilbert
                                                  Wichita, KS 67207


6. Bankruptcy trustee                            Darcy D Williamson                                           Contact phone 785−233−9908
   Name and address                              Williamson Law Office
                                                 510 SW 10th Avenue
                                                 Topeka, KS 66612

7. Bankruptcy clerk's office                      167 US Courthouse                                                Office Hours: 9:00 AM − 4:00 PM
    Documents in this case may be filed at this   401 North Market                                                 Monday − Friday
    address. You may inspect all records filed    Wichita, KS 67202
    in this case at this office or online at                                                                       Contact phone (316) 315−4110
    www.pacer.gov.


8. Presumption of abuse                           The presumption of abuse does not arise.
                                                  If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11
                                                  U.S.C. § 707(b). Debtors may rebut the presumption by showing special circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                      Filing deadline: 1/25/19
    The bankruptcy clerk's office must receive to challenge whether certain debts are
    these documents and any required filing    dischargeable:
    fee by the following deadlines.

                                                  You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                     subdivisions of 11 U.S.C. § 727(a)(2) through (7), or
                                                  • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).
                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied under § 727(a)(8) or (9).

                                                  Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.

                                                  Deadline to object to intended abandonment:                      Filing deadline: 75 days after the
                                                                                                                   conclusion of the meeting of creditors
                                                                                                                   unless otherwise ordered.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
    Please do not file a proof of claim unless    proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    you receive a notice to do so.                will send you another notice telling you that you may file a proof of claim and stating the
                                                  deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Abandonment of property of the Local Bankruptcy Rule 6007.1 allows Chapter 7 Trustees to file a notice of intended
    estate                         abandonment of any or all of a debtor's property in the estate as authorized by § 554
                                   without further service on creditors or interested parties. If a creditor or party in interest
                                   timely objects to the abandonment of any property, the Court will schedule a hearing
                                   regarding the property that is the subject of the objection.

13. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 2




                                 Case 18-12140                 Doc# 6          Filed 11/01/18              Page 2 of 2
